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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )                       ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on two motions (Filing

Nos. 209 and 212) which seek a reduction of defendant’s sentence

pursuant to the amendments to the crack cocaine sentencing

guidelines and recent decisions of the United States Supreme

Court.

            The United States Probation office has prepared and

submitted to the Court a retroactive sentencing worksheet which

addresses the two-level reduction across the board as it deals

with offense levels for crack cocaine.           These adjustments were

declared to be retroactive so that all defendants previously

sentenced under the crack guidelines and who were still in prison

were entitled to an adjustment of their sentence pursuant to the

new guideline levels.

            Title 18, United States Code, Section 3582(c)(2)

provides:

                 [I]n the case of a defendant who
                 has been sentenced to a term of
                 imprisonment based on a sentencing
                 range that has subsequently been
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                 lowered by the Sentencing
                 Commission pursuant to 28 U.S.C.
                 944(o), upon motion of the
                 defendant or the Director of the
                 Bureau of Prisons, or on its own
                 motion, the court may reduce the
                 term of imprisonment, after
                 considering the factors set forth
                 in section 3553(a) to the extent
                 that they are applicable, if such
                 reduction is consistent with
                 applicable policy statements issued
                 by the Sentencing Commission.

The defendant is entitled to a recalculation of his sentence

under the amended crack cocaine guidelines.

           His total offense level as a result of these

modifications to the guidelines is now 34.            He has a criminal

history category of II, and this converts to a sentencing range

of 168 to 210 months on Count I, and a sentence of 60 months for

Count II, which must run consecutively to the sentence imposed on

Count I.   The amended guidelines represent a reduction in

defendant’s sentence of 42 months.

           As the Court noted at the time defendant was originally

sentenced, the guidelines for crack cocaine were significantly

more onerous than justified by the comparison of crack cocaine to

powder cocaine and, at that time, the Court sentenced the

defendant to a non-guideline sentence of one hundred twenty (120)

months.    The United States Court of Appeals for the Eighth

Circuit reversed and remanded for resentencing.              In accordance

with the Circuit’s mandate, the defendant was subsequently


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sentenced to two hundred ten (210) months on Count I, and sixty

(60) months on Count II, to run consecutive to the sentence

imposed on Count I.

           Pursuant to the recent opinions of the United States

Supreme Court in Spears v. United States, 555 U.S. ___, 2009 WL

12944 (2009), and Kimbrough v. United States, 552 U.S. ___, 128

S.Ct. 558 (2007), the Court is now authorized to consider what

the appropriate ratio between powder and crack cocaine ought to

be in a given case for purposes of sentencing.             In Spears, the

United States Supreme Court upheld the decision of the United

States District Court for the Northern District of Iowa, in which

the district court reduced the ratio to 20 to 1.              The Court

refers to its earlier decisions commencing in the early 1990's in

which it found that the 100 to 1 ratio was not reasonable or

supportable based upon the scientific evidence relating to the

nature of the two drugs.

           If the drugs involved in this case had been powder

cocaine rather than crack cocaine, the offense level for 500

grams to 1.5 kilograms would be 26.          With a criminal history

category of II, this results in a guideline range of 70 to 87

months, rather than 168 to 210 months.           This disparity is

unconscionable and results in a serious injustice.              Now that the

United States Supreme Court has decided that the 100 to 1 ratio

is not binding on the Court, the Court is free to calculate crack


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cocaine sentences, using a ratio that the Court finds is

appropriate.    In this case, the Court has reviewed the factors in

Title 18, U.S.C. § 3553(a), and concludes that the original

sentence of 120 months imposed is the appropriate and reasonable

sentence, considering the nature and amount of drugs involved.

Accordingly,

           IT IS ORDERED:

           1) The defendant be committed to the custody of the

Bureau of Prisons for a term of 120 months on Count I and for a

term of 60 months on Count II, to run consecutive to the sentence

imposed on Count I.

           2)   Defendant shall receive credit for all time served

pending trial, pending sentencing, and on the sentences which the

Court originally imposed in this matter.              All other terms and

conditions of the judgment and committal order filed August 11,

2006, remain in full force and effect.

           DATED this 3rd day of February, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




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